            CaseApplication
   AO 106A (08/18) 2:21-mj-03162-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    07/02/21
                                                                                    Means                   Page 1 of 28 Page ID #:1


                                                    UNITED STATES DISTRICT COURT
             LODGED
    CLERK, U.S. DISTRICT COURT


      07/02/2021
                                                                                 for the
              DM
  CENTRAL DISTRICT OF CALIFORNIA
                                                                     Central District ofof
                                                                                         California
                                                                                                                                       Jul -2 2021
    BY: ___________________ DEPUTY                                __________  District     __________
                                                                                                                                             ib

                               In the Matter of the Search of                         )
                   THE PREMISES LOCATED AT                                            )
                                                                                      )       Case No. 2:21-MJ-03162
             716 EAST 27TH STREET, LOS ANGELES, CA
                              90011                                                   )
                                                                                      )
                                                                                      )

         APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

            See Attachment A
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
            See Attachment B
                  The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                                     evidence of a crime;
                                     contraband, fruits of crime, or other items illegally possessed;
                                     property designed for use, intended for use, or used in committing a crime;
                                     a person to be arrested or a person who is unlawfully restrained.

                  The search is related to a violation of:
                      Code Section                                                               Offense Description
                18 U.S.C. § 842 (a)(3)(A)                                            Unlicensed transport of explosives.
                  The application is based on these facts:
                            See attached Affidavit
                                 Continued on the attached sheet.
              Delayed notice of            days (give exact ending date if more than 30 days:                                           ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                                                   /S/
                                                                                                              Applicant’s signature
                                                                                              Blake MacLearnsberry, Special Agent, Bureau of ATF
                                                                                                              Printed name and title
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

       7/2/2021
Date: _________________
                                                                                                              Judge’s signature
City and state: Los Angeles, CA                                                               Hon. Alexander F. MacKinnon, United States Magistrate Judge

                                                                                                              Printed name and title
AUSA: Amanda M. Bettinelli (213-894-0470)
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                              ATTACHMENT A

SUBJECT PREMISES TO BE SEARCHED

        The SUBJECT PREMISES is located at 716 East 27th Street, Los

Angeles, CA 90011.     The SUBJECT PREMISES is a single story

single-family residential home that is salmon in color with

white trim.     A white metal fence with a sliding gate on the

southeast side.     There is a small, covered porch centered

between two front windows with steps that lead up to the front

door.     There is a brown wooden plaque with black numerals “716”

affixed above the small, covered porch.       The driveway is on the

southeast side of the home and leads to a storage shed towards

the rear of the property.     A photograph of the SUBJECT PREMISES

is provided:
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                              ATTACHMENT B


  ITEMS TO BE SEIZED

       The following items are to be seized as evidence,

  instrumentalities, or fruits of violations of Title 18,

  United States Code, Section 842(a)(3)(A), transporting

  explosives without a license:

    1. All explosives and explosives devices including

       commercial, display, and homemade fireworks.

    2. All literature on explosive devices including books,

       magazines, pamphlets, and diagrams relating to the

       acquisition and disposition of explosives and

       explosive devices, including homemade fireworks.

    3. Documents about the acquisition and/or disposition of

       explosive devices, including homemade fireworks.

    4. All evidence about the sale of fireworks, including

       receipts, packing materials, and other materials

       demonstrating an indicia of sales.

    5. All records related to the renting of trucks or other

       vehicles from January 1, 2021 to June 30, 2021.

    6. Documents or evidence that show dominion and control

       over the SUBJECT PREMISES, rooms within the SUBJECT

       PREMISES that items above are located, or dominion and

       control over the items above themselves.
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                               AFFIDAVIT

       I, Blake MacLearnsberry, being duly sworn, declare and

  state the following:

                         I. PURPOSE OF AFFIDAVIT

       1.    I am a Special Agent (“SA”) with the Bureau of

  Alcohol, Tobacco, Firearms and Explosives (“ATF”), in

  Glendale, California.     I have been a Special Agent with ATF

  since October 28, 2019.      I am a graduate of Seattle

  University and the Federal Law Enforcement Training Center.

  During my employment with ATF, I have investigated and

  participated in numerous investigations involving federal

  violations of firearms, explosives, and narcotics laws,

  including the trafficking of firearms and controlled

  substances.    I have participated in at least a dozen

  investigations involving the illegal sales, transfer, and

  possession of firearms and controlled substances and

  interviewed defendants, informants, and witnesses with

  first-hand knowledge of methods for trafficking the same.

  I have written affidavits for, and participated in, the

  execution of arrests and search warrants for firearms and

  explosives, including violations of Title 18, United States

  Code, Section 842 which provides in pertinent part that

  unlicensed persons are prohibited from transporting,

  manufacturing, storing, or dealing in explosives.

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       2.    This affidavit is made in support of a:

  (a) complaint and an arrest warrant for ARTURO CEJA III

  (“CEJA”) for a violation of Title 18, United States Code,

  Section 842(a)(3)(A) transporting explosives without a

  license; and (b) a search warrant for his residence,

  located at 716 East 27th Street, Los Angeles, California for

  items constituting evidence of violations of the same

  offense.

       3.    As will be explained further below, between June

  20, 2021 and June 29, 2021, CEJA purchased explosives in

  cash at Area 51, a fireworks dealer, and transported them

  from Pahrump, Nevada, to Los Angles, California, in a

  rental vehicle that he drove to his residence located at

  716 East 27th Street, Los Angeles, California (hereafter

  “THE SUBJECT PREMISES”).      As explained further below, CEJA

  admitted that, between June 20, 2021 and June 29, 2021, he

  purchased a large amount of fireworks in cash, including

  but not limited to, aerial display fireworks and homemade

  fireworks, that he stored at the SUBJECT PREMISES in his

  backyard under a tent in a residential neighborhood in

  South Los Angeles.

       4.    The SUBJECT PREMISES is described more fully in

  Attachment A.    The items to be seized are described more

  fully in Attachment B.

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         II.    STATUTORY FRAMEWORK IN SUPPORT OF PROBABLE CAUSE

       5.      Title 18, United States Code, Section

  842(a)(3)(A) makes it unlawful to “transport, ship, cause

  to be transported, or receive any explosive materials.”

       6.   Explosives are regulated by ATF and a person

  engaged in the transport of explosive materials must hold

  an explosives license issued by ATF.        As explained further

  below, CEJA did not possess an ATF explosives license or

  permit of any kind that would authorize him to transport

  either aerial display fireworks or homemade fireworks made

  with explosive materials, including but not limited to

  flash powder, from Pahrump, Nevada to Los Angeles,

  California between June 20, 2021 and June 29, 2021.

       7.      Fireworks and explosives are dangerous and

  regulated by federal laws enforced by ATF and assigned a

  hazard classification by the United States Department of

  Transportation (“DOT”).      The fireworks that were

  transported by CEJA between June 20, 2021 and June 29,

  2021, included but are not limited to, homemade fireworks

  and aerial display fireworks (1.3 hazard class), are

  classified as explosive materials by ATF.

       8.      Pursuant to 18 U.S.C. § 841(c), explosive

  material is defined as explosives, blasting agents, and

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  detonators.    Explosives are defined as any chemical

  compound mixture, or device, the primary or common purpose

  of which is to function by explosion; the term includes,

  but is not limited to, dynamite and other high explosives,

  black powder, pellet powder, initiating explosives,

  detonators, safety fuses, squibs, detonating cord, igniter

  cord and lighters.

       9.      On July 1, 2021, I learned from ATF Certified

  Explosives Specialist (“CES”) Danial Thompson, the homemade

  fireworks purchased and transported by CEJA to Los Angeles

  are constructed of cardboard paper, hobby fuse, and packed

  with flash powder, an explosive.       See Photo attached as

  Exhibit A.    According to ATF regulations, flash powder is

  an explosive material intended to produce an audible report

  and a flash of light when ignited which includes, but is

  not limited to, oxidizers such as potassium chlorate or

  potassium perchlorate, and fuels such as sulfur or aluminum

  powder.    See 18 U.S.C. § 841(d).

       10.     On June 30, 2021, I reviewed photographs taken by

  Detective Dorroh earlier that day of cardboard boxes stored

  in the backyard of the SUBJECT PREMISES, had labeling that

  indicated aerial fireworks 1.3.       From my review of the

  photographs, they appeared to show ariel fireworks.          An

  aerial display firework is regulated by ATF because of the

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  amount of explosive materials that it contains and has a

  hazard class identification under DOT regulations that

  requires carton labeling for safe handling and

  transportation, namely 1.3.      See Photo attached as Exhibit

  B.   An aerial firework or a salute is defined as an aerial

  shell, classified as a display firework, that contains a

  charge of flash powder and is designed to produce a flash

  of light and a loud report as the pyrotechnic effect.

  Large fireworks are designed primarily to produce visible

  or audible effects by combustion, deflagration, or

  detonation.    This term includes, but is not limited to,

  salutes containing more than 2 grams (130 mg) of explosive

  materials, aerial shells containing more than 40 grams of

  pyrotechnic compositions, and other display pieces which

  exceed the limits of explosive materials for classification

  as “consumer fireworks.”      A consumer firework is defined as

  a small firework device designed to produce visible effects

  by combustion and must comply with the construction,

  chemical composition, and labeling regulations of the

  United States Consumer Product Safety Commission, as set

  forth in Title 16, Code of Federal Regulations, parts 1500

  and 1507.   Some small devices designed to produce audible

  effects are included, such as whistling devices, ground

  devices containing 50 mg. or less of explosive materials.

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   Consumer fireworks are classified as fireworks UN0336 and

   UN 0037 by the United States Department of Transportation

   at 49 CFR 172.101.      The term does not include fused set

   pieces containing components which together exceed 50 mg of

   salute powder.

                    III.    STATEMENT OF PROBABLE CAUSE

       11.     On or about June 30, 2021, Los Angeles Police

   Department (“LAPD”) LAPD Detective Edward Dorroh informed

   me that LAPD had received a tip earlier that day concerning

   an individual in possession of and selling large fireworks

   at a residence located at 716 East 27th Street in Los

   Angeles, California.

        12.    On that same date, LAPD Detective Edward Dorroh

   told me that, after responding to the tip about someone in

   possession of and selling large fireworks at the SUBJECT

   PREMISES:

        a) LADP patrol officers then observed hundreds of

   boxes of fireworks in the backyard of the SUBJECT PREMISES

   which was located in a densely populated residential

   neighborhood in South Los Angeles.

        b) Explosives specialists from the LAPD Bomb Squad and

   detectives from the LAPD Major Crimes Unit (including

   Detective Dorroh) were called to the residence.          Detective

   Dorroh told me that upon arrival and assessing the large

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   quantity of the illegal fireworks discovered, they deemed

   the fireworks an immediate public safety risk.         Detective

   Dorroh then asked for, and received consent, from resident

   Miraya Rivera, Artulo CEJA’s mother, to search the

   residence.

        c)     On June 30, 2021, at approximately 10:00 am, LAPD

   detectives and bomb squad began searching the SUBJECT

   PREMISES.    The search of the premises focused primarily on

   the backyard and a bedroom, but did not include a thorough

   search for explosive residues or materials that might be

   used to make homemade fireworks.       The evidence is likely to

   still be at the SUBJECT PREMISES because it would be

   difficult for an individual to remove all traces of

   explosive residue and chemical indicia or markers.

        d)      Detective Dorroh told me that over 500 boxes

   containing approximately 5,000 pounds of fireworks were

   found in the backyard of the SUBJECT PREMISES.         Detective

   Dorroh also observed that the fireworks were stored outside

   and in an unsafe manner, namely under unsecured in tents

   and next to cooking grills.      None of the commercial

   fireworks or homemade fireworks, which contained explosive

   materials, were stored in an approved magazine per Section

   555.11, despite the close-proximity to other residences and

   businesses.    See Exhibit A.    Additionally, upon searching

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   the bedroom belonging to CEJA, an ignition fuse for a

   homemade mortar was discovered both under the bed as well

   as on the desk in the room.      Detective Dorroh also found

   clear, plastic ziplock style bags with different dollar

   amounts handwritten on them which he told me he believed

   were indicia of sales.

        e)   The large stockpile of over 5,000 pounds of

   illegal fireworks which investigators later learned were

   transported from Pahrump, Nevada between June 20, 2021 and

   June 29, 2021 by CEJA, indicate that CEJA was not engaged

   in personal use of explosives, but that he was likely

   engaged in sales or dealing in explosives as well.

        f)   LAPD’s initial consensual search of the residence

   on June 30, 2021 resulted in the discovery of the

   following:

        (1) over 500 boxes of commercial grade fireworks, both

   1.3 aerial display and 1.4 hazard class fireworks in large

   cardboard boxes;

        (2) homemade fireworks (typically referred to M

   devices of varying sizes M100s and M3000s) and explosives

   making components, including hobby fuse that matched the

   fuse on a homemade mortar shell wrapped in tin foil; and

        (3) Clear plastic bags with dollar amounts handwritten

   on each bag.

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           g)    Based on my training and experience, and

   information learned from our CES Special Agent Dan Thompson

   and ATF bomb tech Mike Cote, the discovery of both plastic

   bags and fireworks components (hobby fuse and the homemade

   explosives described above) indicate the manufacturing of

   homemade fireworks at the SUBJECT PREMISES.

           h)    As a result of the LAPD search and statements

   made in his interview with Detective Dorroh, CEJA was

   arrested on State of California charges for possession of

   illegal fireworks, namely a violation of Health and Safety

   Code Section 18715.     The state charges are still pending

   and defendant was released on bond the evening of June 30,

   2021.

           13.   On or about June 30, 2021, Detective Dorroh told

   me that, on or about 4:00 p.m. on June 30, 2021, the LAPD

   investigation was completed and they had begun to

   transition to removal of the approximately 5,000 pounds of

   commercial fireworks (1.3 aerials and 1.4 hazard class)

   from the backyard of the SUBJECT PREMISES to an offsite

   explosive storage facility.

           14. Before that LAPD fireworks removal was done, ATF

   SA Alan Hughes informed me that he had removed one of the

   ends on an M style firework in order to take an explosive

   devise test sample.     SA Hughes collected a cardboard tube,

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   both ends that sealed the tube, and the pyrotechnic fuse.

   The gray powder inside the tube was placed into one small

   vial for laboratory analysis and one larger vial for

   evidence.

          14.   Detective Dorroh informed me that, during the

   removal of the fireworks from the SUBJECT PREMISES, LAPD

   Bomb Squad Supv. LaVest determined that some of the

   homemade fireworks and improvised explosives were not safe

   to transport due to risk of detonation in a densely

   populated area and therefore would be destroyed on scene

   using a total containment vessel (“TCV”).

          15.   Detective Dorroh told me that the LAPD Bomb Squad

   next loaded the homemade fireworks and improvised

   explosives determined to not be safe for transport into the

   TCV.   Detective Dorroh indicated that LAPD bomb technicians

   told residents in the area to either evacuate or stay

   indoors while the fireworks were destroyed in the TCV.

   After clearing the area, the LAPD Bomb Squad initiated

   destruction of the homemade fireworks, ignition, and there

   was an explosion in the TCV.      Detective Dorroh told me,

   that due to a malfunction or error in the TCV operation,

   the entire TCV exploded after ignition of the homemade

   fireworks and improvised explosives recovered from the

   SUBJECT PREMISES and caused a massive blast radius on the

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   block of 27th and 28th and San Pedro, injuring approximately

   17 individuals, and damaging multiple nearby buildings and

   vehicles in the area.     The explosion prompted the emergency

   response of numerous law enforcement agencies, fire

   personnel, and local and federal first responders,

   including but not limited to ATF.       Detective Dorroh told me

   that, at the time of the explosion, all personnel had to

   evacuate the area and therefore the search of the SUBJECT

   PREMISES was never completed, which further leads me to

   believe that additional evidence will be found at the

   SUBJECT PREMISES.

        16.   On July 1, 2021, ATF CES SA Dan Thompson told me

   that, on June 30, 2021, SA Hughes had collected one M3000

   specimen from LAPD Detective Dorroh.        SA Thompson indicated

   that the sample was retained pursuant to standard ATF

   evidence and collection protocols for explosives and that

   the sample would be sent for further testing at the ATF

   Forensic Scientific Laboratory for a chemical analysis.           On

   July 1, 2021, SA Dan Thompson told me that the evidence was

   transferred in accordance with ATF policy for handling

   evidence and maintaining the proper chain of custody.

   Based on my training and experience, and the items found

   during the search by LAPD, as well as SA Thompson’s

   identification of the interior of the fireworks, there is

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   probable to cause to believe that they contain explosive

   material, and therefore required a license to transport the

   explosive and a proper storage magazine under Section

   555.11.    As noted above, the homemade fireworks, in fact,

   exploded inside the LAPD Bomb Squad vehicle.

        17.    On July 1, 2021, ATF SA and CES Danial Thompson

   was shown pictures of multiple items recovered at the

   subject residence including the M-1000 and M-100 style

   homemade fireworks, a mortar style firework covered in

   aluminum foil, and a black plastic bag filled with smaller

   M-style fireworks.     SA Thompson told me that all the items

   pictured were consistent with homemade fireworks.

   Additionally, SA Thompson viewed a sample of the interior

   of the fireworks conducted by ATF SA Alan Hughes taken on

   June 30, 2021 as part of initial render safe procedure.           In

   that procedure, one of the plugs of the homemade firework

   previously identified as an M3000 was removed and the

   contents spilled out onto the ground and a gray color

   powder was observed.     The powder was next transferred to

   two vials for sampling and storage as evidence collection

   in LAPD evidence locker.      SA Dan Thompson told me that he

   reviewed all of those photos, including the photos of the

   LAPD bomb tech and ATF SA Hughes sampling the homemade

   M3000 explosives (there were approximately 41 M3000s in

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   all) purchased and transported by CEJA and confirmed that

   the substance was consistent with explosive material used

   to make fireworks.     Based on that evidence and that in the

   paragraph immediately above, there is probable cause to

   believe that the fireworks purchased by CEJA and

   transported to Los Angeles without an ATF license contained

   explosive material in violation of 18 U.S.C. § 842(a)(3)(A).

        18.   Detective Dorroh told me that, at approximately

   3:00 pm on June 30, 2021, CEJA was booked into LAPD

   custody, and read his Miranda rights by LAPD Detective

   Edward Dorroh.    CEJA waived his Miranda rights and agreed

   to voluntarily speak with Detective Dorroh and admitted

   that the commercial fireworks and homemade explosives

   recovered from the SUBJECT PREMISES belonged to him.          The

   interview and supplemental interview conducted by Detective

   Dorroh were recorded.     On June 30, 2021, I listened to the

   interview and confirmed what Detective Dorroh told me.

        19.   Later in the evening of June 30, 2021, and

   continuing into the early morning of July 1, 2021, after

   the post blast response, I accompanied Detective Dorroh to

   again interview CEJA.     Upon arriving at the police station

   Detective Dorroh and I learned that CEJA was being released

   on bail.   Detective Dorroh and I asked CEJA if we could

   interview him again and he consented.        CEJA was advised

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   that it was a voluntary interview and that he was free to

   leave at any time.     CEJA agreed to be interviewed again.

   Detective Dorroh again read CEJA his Miranda rights which

   CEJA waived those rights.

        a.    During the interview, CEJA told me that his

   residence was 716 East 27th Street, in Los Angeles

   California, the SUBJECT PREMISES.       He additionally stated

   that all the fireworks at the residence were his (both

   commercial and homemade) and that he had purchased them in

   Nevada and transported them to Los Angeles.         CEJA stated

   that he had driven to and from Los Angeles to Nevada 6 or 7

   times in the last 10 days transporting commercial and

   homemade firework.     He stated that he would drive his car

   to Las Vegas, rent a truck or van from Enterprise or Penske

   in Las Vegas, buy fireworks in Nevada and transport them

   back to Los Angeles using the rented truck or van.          Then

   Mr. CEJA would drive the rented vehicle back to Las Vegas

   and pick up his personal vehicle.

        b.    CEJA stated that he had purchased all the

   fireworks in cash at Area 51 in Pahrump, NV and personally

   transported the 5,000 pounds of commercial fireworks,

   including, but not limited to, homemade fireworks

   identified above as explosives and aerial display

   fireworks, found by the LAPD Bomb Squad and detectives at

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   the SUBJECT PREMEISES stored outdoors in a residential

   neighborhood under a tent in large card board boxes.          CEJA

   stated that he had made multiple trips to purchase

   fireworks, paid in cash, and transported them in a rental

   van between the dates of June 20, 2021, and June 29, 2021.

        c.     In addition to the commercial fireworks purchased

   at Area 51 (1.3 aerials and 1.4 hazard class) discovered at

   the SUBJECT PREMISES there were homemade fireworks observed

   in boxes in the sun and near cooking grills by Detective

   Dorroh.   CEJA told me that he had made multiple cash

   purchases of homemade fireworks from a white male,

   approximately 5 feet 8 inches tall and weighing

   approximately 180 pounds in the parking lot of Area 51 in

   Pahrump, Nevada.     CEJA stated that the unidentified male

   was selling fireworks out of the trunk of his vehicle, a

   Honda.    CEJA identified some of the fireworks he purchased

   from this individual as being M-100 or M-1000 style

   homemade explosives.     Based on my conversation with ATF

   Certified Explosive Specialist Dan Thompson and ATF bomb

   tech Mike Cote on July 1, 2021, I learned that M devices

   purchased by CEJA, transported from Nevada to Los Angeles,

   and stored at the SUBJECT premises typically contain

   explosive materials, such as flash powder.         I also learned

   that CEJA would have needed an explosives dealer license

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   (U.S.C. Section 842) to purchase and transport 1.3 aerials

   discovered at the SUBJECT PREMISES.        When shown pictures of

   some of the homemade fireworks previously recovered by LAPD

   Bomb Squad earlier in the day on June 30, 2021 by detective

   Dorroh from the SUBJECT PREMISES, CEJA identified them as

   being the items he purchased from the unidentified white

   male in Nevada.    See Exhibit B.     CEJA denied that he

   purchased the fireworks to resell them and stated that they

   were for personal use.

        20.     I obtained a copy of CEJA’s driver’s license from

   the California Department of Motor Vehicles, which shows

   that CEJA has an un-expired California driver’s license,

   which identifies 716 East 27TH Street, Los Angeles, CA, the

   SUBJECT PREMISES, as his home.        A photo of mail addressed

   to “ARTURO CEJA III” at that address was photographed by

   Detective Dorroh and provided to me.

        21.     On July 2, 2021 ATF Special Agent Bomb Technician

   Michael Cote told me that, on July 1, 2021, he had weighed

   the gray powder inside on of the homemade M style

   fireworks.    The total weight of the explosive material was

   over 145 grams, thus requiring the possessor of the M-style

   device to have an explosive license in order to use, store,

   transport, or manufacture the device.



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        22.   According to public information event hosted by

   law enforcement partners on public safety and illegal

   fireworks on July 1, 2021, CalFire reported that they

   seized around 80,000 pounds of illegal fireworks at the

   California and Nevada border during the months of May and

   June of 2021.    On July 2, 2021 SA Brendan Culley spoke to

   CalFire Bomb Technician Bryan Gouge and he thereafter told

   me that the seizures included mostly consumer grade

   fireworks purchased from the major fireworks stores in

   Pahrump, Nevada, including but not limited to Area 51

   Fireworks, Red Apple Fireworks, Phantom Fireworks of

   Pahrump. Black Jack Fireworks, and Outlaw Fireworks.

   Additionally, according to Gouge, individuals engaged in

   illegal transportation of fireworks into California from

   Nevada by road, used various methods to conceal both their

   identity and their illegal cargo.       These included using

   cash to pay for fireworks purchases and van and box truck

   rentals to transport large quantities of fireworks, and

   travel on secondary roads where there is likelihood of less

   enforcement presence.     Gouge said CalFire regularly

   intercepted passenger cars transporting 500 to 1,000 pounds

   of fireworks, but that rental vans and trucks contained

   larger quantities.     Gouge noted the mark-up for resale of



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   fireworks in California is upwards of four times what

   purchasers pay for the fireworks in Nevada.




           IV. CEJA DID NOT POSSESS AN ATF EXPLOSIVES LICENSE

        23.    On July 1, 2021, I requested and reviewed the

   results of a search of ATF databases for explosives

   licenses registered to Mr. Arturo CEJA III and verified

   that there is no record that CEJA has had a federal

   explosives license and is therefore prohibited from

   storing, manufacturing, transporting, or selling

   explosives.

        24.    On July 1, 2021, US Department of Transportation

   SA Culley searched the PHMSA Hazardous Materials Approval

   Database for fireworks identified in the photos provided to

   me by Det. Dorroh.     The database maintained by PHMSA to

   track hazardous materials approved for transportation.

   According to the PHMSA website, “Approvals authorize the

   transportation of designated hazardous materials (i.e.

   explosives)…under the PHMSA regulations.”         Based on SA

   Culley’s search of “EX2020042104,” identified on the box

   labeled, “Against All Odds,” in Det. Dorroh’s photo, PHMSA

   reported the product to be a 1.3G, Mine and Shell,

   Firework.   Based on SA Culley’s search of “EX2010101213,”

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   identified on the box labeled, “Wolf Fire,” in Det.

   Dorroh’s photo, PHMSA reported the product to be a 1.4G,

   Firework.

         25.    On July 1, 2021, SA Culley interviewed Rene Silva

   Brown, Investigator, PHMSA, about “EX numbers” and “1.4G”

   and “1.3G” classes of fireworks and shared the details of

   that interview with me.      According to Investigator Brown,

   “EX numbers” are issued by PHMSA to certify the safety of

   the composition of explosives imported into the United

   States.     Additionally, “EX numbers” provide a manner to

   track explosives imported and sold in the United States.

   She clarified that just because an explosive is approved

   for import and sale in the United States does not mean that

   states cannot restrict their sale or possession.          She

   explained that “1.3G” class of fireworks are designed for

   professional displays.      They use flash powder and therefore

   cause an explosion.

   ///

   ///




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                             V.     CONCLUSION

       27.    Based on my training and experience, there is a

   probable cause to believe that CEJA violated Title 18,

   United States Code, Section 842(a)(3)(A) (transporting

   explosives without a license or permit), and that evidence,

   fruits, and instrumentalities of this violation will be

   found at the SUBJECT PREMISES.



                                          /S/
                                  _______________________________
                                  Blake MacLearnsberry
                                  Special Agent-ATF

   Subscribed and sworn to before me
   this 2nd day of July, 2021.



   _____________________________
   UNITED STATES MAGISTRATE JUDGE
   HONORABLE ALEXANDER F. MACKINNON




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                   EXHIBIT A
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                                Exhibit A
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                   EXHIBIT B
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                                Exhibit B
